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                                        UNITED STATES DISTRICT COURT
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                                   CENTRAL DISTRICT OF CALIFORNIA
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     JON CHRISTIAN STEDMAN WITT, et               )    Case No. CV 24-1967 FMO (ASx)
12   al., individually, and on behalf of all      )
     others similarly situated,                   )
13                                                )
                           Plaintiff,             )    ORDER DISMISSING ACTION
14                                                )
                   v.                             )
15                                                )
     KOHLS INC.,                                  )
16                                                )
                           Defendant.             )
17                                                )
                                                  )
18

19          The complaint in the above-captioned case contains individual and class allegations, but

20   no answer has been filed and no substantive action has been taken in this matter. (See,

21   generally, Dkt.). Now, the court is informed that the parties have settled and that plaintiffs will

22   dismiss the action as to their individual claims with prejudice. (See Dkt. 38, Notice of Settlement).

23          Having reviewed the case file and determined that no prejudice to the class will result from

24   the dismissal, IT IS ORDERED that the above-captioned action is hereby dismissed without

25   prejudice as to the class claims and with prejudice as to the individual claims. The dismissal shall

26   be without costs and plaintiff shall retain the right, upon good cause shown within 30 days from

27   the filing date of this Order, to re-open the action if settlement is not consummated. The court

28   retains full jurisdiction over this action and this Order shall not prejudice any party to this action.
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1    Failure to re-open or seek an extension of time to re-open the action by the deadline set forth

2    above shall be deemed as consent by the parties to dismissal of the action without prejudice as

3    to the class claims. See Fed. R. Civ. P. 41(b); Link v. Wabash R.R. Co., 370 U.S. 626, 629-30,

4    82 S.Ct. 1386, 1388 (1962).

5    Dated this 7th day of January, 2025.

6                                                                         /s/
                                                                 Fernando M. Olguin
7                                                            United States District Judge

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